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             EXHIBIT A
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                                  PERSONAL EMPLOYMENT AGRE_CMENT

         This Personal Employment Agreement ("Agn:ement") is entered into this March 8, 2017 (the
         "Effective Date"), by and between TAPD Israel Ltd., a private company incorporated under the
         laws of the St.ate of Israel (the °Company") and the employee whose details are specified in
         Annex A hereto (the "Employee").

                                                  WITNESSETH

                 WHEREAS, the Company desires to engage the Employee in the position indicated
         hereinafter and the Employee represents that he has the requisite skills and knowledge to serve in
         such position; and

                 WHEREAS, ,the parties desire to state the terms and conditions of the Employee's
         engagement with the Company, effective as of the Employment Starting Date, as such term is
         defined hereinafter, all subject to the terms set forth below.

               NOW THEREFORE, in consideration of the mutu.al promises contained herein, and
         intending to be legally bound, the parties hereto hereby declare and agree as follows:
         1.    Appointment; The Position
         LI    The Company hereby appoints the Employee to the position detailed in Annex A. The
               Employee shall perform. the services ru1d duties hereunder in accordance with the
               Company's policy (the "Services"), under the supervision of the person(s) detailed in
               Annex A and· iri accordance with his/her instructions and in any other framework as the
               Company shall direct in order to facilitate its needs.
         1.2   The parties hereto warrant and confirm that Employee's employment by the Company shall
               commence on the date specified in Annex A (the "Employment Staiiing Date"). The
               provisions of this Agreement shall apply to the parties as of the Employment Starting Date.
         L3    The Employee shall perform his/her duties hereunder at the Company's principal offices
               indicated above or at such other offices in either the Jerusalem or Tel Aviv areas. The
               Employee acknowledges and agrees that the perfomiance of his/her duties hereunder may
               require domestic and international travel.
         1.4   This Agreement is specific and personal and exclusively determines the Employee's terms
               of employment.
         2.    Devotion of Time
         2.1   As of the Employment Starting Date, Employee shall devote the required and necessary
               business time, attention and efforts to the perfonnance of his/her duties and responsibilities
               hereunder. The Employee shall perform the duties and responsibilities hereunder with
               expertise and in a professional and efficient manner.
         2.2   During the term of this Agreement, and unless and until otherwise agreed, Employee shall
               be employed on a full-time basis (5 days a week, 9 hours per day including half an hour
               lunch break), with Friday and Saturday as rest days.
                The performance of Employee1s responsibilities requires work during over-time hours, over
                and above the regular working days and hours and the Employee undertakes to work these
                hours in accordance with the Company's demands and requirements.




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         2.3   As of the Employment Starting Date, Employee shall not engage in any other business
               activities, whether or not such business activities are conducted outside of normal business
               hours and whether or not such activities are pursued for gain or profit unless specifically
               approved by the Company. The above notwithstanding, it is hereby clarified and agreed
               that: (i) the Employee may engage is volunteer work; (ii) as of the Effective Date, the
               Employee is currently engaged and may continue to be engaged with the entities listed on
               Annex B hereto, and (iii) the Employee may engage in other unpaid activities upon
               notification to the Company, provided however, that in each case, unless otherwise
               approved by the Company, such engagements will not disrupt or interfere with Employee's
               performance of the duties and responsibilities hereunder, shall not be conducted during the
               time Employee is obligated to devote for the pe1formance of his/her duties and
               responsibilities according to this Agreement and/or compete with the Company's and/or
               any of its subsidiaries' and/or any of its affiliates' business.
         3.    Tenn and Termination
         3.1   This Agreement shall be effective as of the Employment Starting Date, and shall continue
               until terminated in accordance with the provisions of Section 3 .2 or 3.3 hereinafter.
         3.2   The Company and the Employee may tenninate this Agreement at any time by giving the
               other party a prior written notice of tennination, of a period detailed in Annex A.
         3J    The Company may waive in writing and in advance Employee's Services in any prior notice
               period. In the event that the Company notifies Employee of such waiver, the Company
               shall be entitled to pay Employee the Monthly Salary (as defined below) otherwise payable
               to Employee during such prior notice period in one lump~sum and by doing so bring the
               employer-employee relations between the parties to end upon such payment
         3.4   Notwithstanding the above, the Company shall have the right to immediately terminate this
               Agreement for a Cause, as determined by the Company. A "Cause" shall mean either (i)
               circumstances entitling the Company under any applicable law to terminate the
               employment of the Employee without payment of severance pay; (ii) any material breach
               by the Employee of this Agreement, any breach of the NDA or any breach of the
               Employee's fiduciary duties; (iii) conviction of the Employee of any felony involving
               moral turpitude and/or (iv) a willful failure to perform Employee's responsibilities or
               duties which failure has a significant adverse effect on the Company in cases (ii) and (iv)
               above, but in each case only if the Employee did not cure such breach within seven (7)
               days of written notification of the same by the Company. Subject to section 5.1 (iv), in the
               event of termination for Cause, Employee's entitlement to severance pay will be subject to
               Sections 16 and 17 of the Severance Pay Law 5723-1963 (the "Severance Law") and/or
               any other applicable law.
         4.    Salary
         4.1   During the term of this Agreement, the Company shall pay Employee a monthly gross
               salary in a total amount detailed in Annex A (the "Monthly Salary"). The Monthly Salary
               is composed of a determinative salary in the gross amount detailed in Annex A (the
               "Determinative Monthly Salary") and, since Employee's position may require working
               overtime hours, a global addition for oveitime, on account of working additional monthly
               working hours (.in an amount detailed in Annex A), in a gross sum detailed in Annex A
               ("Global Overtime Payment"), which wilt be paid to the Employee subject to working
               overtime hours.
               For avoidance of doubt, it is hereby declared and clarified that the amount of the Global
               Overtime Payment specified above has been determined and agreed in light of the




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               anticipated amount of monthly ove1time hours to be conducted by the Employee, therefore
               in the event the Employee shall not work the full amount of over-time hours, mentioned
               above, Employee will still be entitled to receive the Global Overtime Payment. The
               Company shall, on a regular basis from time to time, reevaluate this anticipated amount of
               monthly overtime.
        4.2    It is hereby clarified that unless indicated specifically otherwise in this Agreement, the
               Monthly Salary indicated in Annex A includes reimbursement for all travel expenses,
               costs, out of pocket and/or other expenses relating to the performance of the Services, and
               that the Employee shall not be entitled to any additional payment in connection with the
               Services.
         5.    Additional Benefits
         5.1   Pension Insurance. As of the Employment Starting Date, the Company shalI insure the
               Employee under an accepted "Managers Insurance Plan" (the "Managers Insurance")
               and/or a comprehensive pension plan (the "Pension Plan"). The Managers Insurance
               and/or Pension Plan shall be provided through an agency/agent selected by the Employee,
               by an insurance company and/or a pension fond, to be selected by the Employee and
               approved by the Company. For the avoidance of doubt, the Company's contributions may
               exceed the ma,ximum exemption from income tax allowed by any applicable law and
               regulations.
               (i) In the case of a Pension Plan, the percentages detailed in Annex A shall be
                     contributed,
               (ii) In the case of a Managers Insurance, the percentages detailed in Annex A shall be
                     contributed. The Company shall make additional payments, as detailed in Annex A,
                     on account of insurance for loss of earning capacity.
               (iii) The Employee hereby instructs the Company to transfer to such Managers Insurance
                     and/or Pension Plan the amount of Employee's and the Company's contribution from
                     the Monthly Salary, as detailed in Annex A.
               (iv) The Company and the Employee agree and acknowledge that the Company's
                     contribution towards the Managers Insurance or Pension Plan as set forth in this
                     Section 5.1, are in lieu of severance payments to which the Employee (or his
                     beneficiaries) is otherwise entitled to with respect to the Monthly Salary upon which
                     such contributions were made and for the period in which they were made, pursuant
                     to Section 14 of the Severance Law. The parties hereby adopt the General Approval
                     of the Minister of Labor and Welfare, which is attached hereto as Annex C. The
                     Company hereby forfeits any right it may have for reimbursement of sums paid by
                     the Company into the Managers Insurance or Pension Plan, except: (i) in the event
                     that the Employee withdraws such sums from the Managers Insurance or Pension
                     Plan, other than in the event of death, disability or retirement at the age of 60 or
                     more; or (ii) upon the occurrence of any of the events provided for in Sections 16 and
                      17 of the Severance Law, subject to the terms of the General Approval.
         5.2   Additional Benefits. Employee shall receive additional benefits, if any, as detailed in
               Annex A.

         5.3   Annual Vacatiog Employee shall be entitled to paid vacation days during each year of
                                0

               employment with the Company as detailed in Annex A. but in any event no less than the
               number of annual vacation days prescribed by law. Employee shall be obligated to take at
               least one vacation each year of at least 7 consecutive days (5 working days which shail be
               counted as vacation days and 2 rest days), as prescribed by law. Any vacation day snot




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             used by the Employee during the year will be cancelled on JS1 January of the following year
             and no vacation days shaU be redeemed at any time.

             For the avoidance of doubt, the dates of the Employee's vacation shall be coordinated with
             the Company,
             In addition, to the extent that the Employee requires additional vacation days, the
             Employee is entitled to request such days from the Supervisor and coordinate such
             vacation \Vith the Company at its discretion and according to the Company's policy from
             time to time. The Company shall be entitled to set uniform dates for vacation for all or
             part of its employees, with respect to all or any part of the vacation days, as it shall deem
             fit.
         5.4 Cellular Phone; Laptop. If detailed on Annex A. Company shall provide Employee with a
             laptop (the 11 Laptop 11). Subject to the Employee's request, the Company shall provide
             Employee with a cellular phone. Such device (or its cost) shall be returned to the
             Company in any case that the Employee leaves the Company within 4 months of the
             signing of this agreement. Company shall bear the costs of maintaining a cellular phone,
             subject to the Company's policy and as detailed below (together with cost of ceUular
             device, the "Cellular Phone Expenses") for Employee's use in the course of perfonning
             his/her obligations under this Agreement.
             Company shall bear all expenses iu c01mection with the use and maintenance of the
             Laptop, including, internet services, in accordance with the Company's policies from time
             to time, The Cellular Phone Expenses as weH as the maintenance of the Cellular Phone
             shall be subject to Company's policy from time to time, as well as its agreement with the
             cellular company.
             In order to benefit from the payment of the CeHular Phone Expenses, the Employee shall
             be required to sign and execute any form which transfers the line of the Cellular Phone to
             the business plan of the Company such that the Company shall pay the Cellular Phone
             Expenses directly to the ceHular Company, the identity of the ceHular company as well as
             the plan so chosen for the Employee shal I be detem1ined by the Company at its sole
             discretion. To the extent that the Employee will request to upgrade the plan provided by
             the Company, the Company may require that the Employee pays the amount which
             exceeds the Cellular Phone Expenses and the Employee hereby irrevocably authorizes
             Company to deduct and set off :from his Monthly Salary such excess amount The
             Employee shall sign the necessary documents required to transfer the line back to
             Employee's ownership no later than his/her last day of work with the Company and the
             Company shall be permitted to disconnect the line immediately thereafter.
             The Employee shall bear (and hereby irrevocably authorizes Company to deduct and set
             off from his Monthly Sairuy) all tax obligations related to the use of the Laptop and the
             CeHular Phone Expenses, if any. The Employee shaH return the Laptop to the Company
             no later than his/her last day of work with the Company. The Employee shall have no
             rights of ownership in Laptop, nor any rights to any lien or charge with respect thereto.

              The use of the Laptop and payment of Cel tu!ar Phone Expenses shall not be considered in
              any case whatsoever as part of the Monthly Salary and Employee will not receive any
              social benefits on the imputed income related to the grant of the Laptop hereunder or the
              payment of the Cellular Phone Expenses.




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         5.5    Sick Leave & Recreation pay. The Employee shall be entitled to sick leave (commencing
                the first day of sickness), and to recreation pay ("dmei havra'ah") according to any
                applicable law.
         5.6    It is hereby clarified that unless indicated specifically othenvise in this Agreement, the
                Monthly Salary indicated in Annex A includes reimbursement for aH daily travel expenses,
                costs, food costs, out-of-pocket and/or other expenses relating to the performance of the
                Services, and that the Employee shall not be entitled to any additional payment in
                connection with the Services. Notwithstanding the above, the Employee shall be entitled to
                reimbursement of special or extraordinary expenses necessary for the performance of the
                Services, provided that such expenses have been approved in advance and in 'Writing by the
                Company.


         6.     Tax Withholding
                For avoidance of doubt, all payments and benefits under this Agreement are gross
                amounts. Any tax consequences arising from the grant or exercise of any option or right or
                from any payment made to Employee under this Agreement or any other event or act,
                whether on Employee's part or the Company's part, shall be borne solely by Employee
                (other than taxes which are imposed by law on the Company). The Company shall
                withhold the applicable taxes as required under any applicable law from any Monthly
                Salary and/or from all other payments and/or benefits granted to Employee under this
                Agreement.
         7.     Proprietary Information & Non Disclosure
                The provisions of the Proprietary Information, Assignment of Inventions, Non Disclosure
                and Non Compete Agreement attached hereto as Annex D (the "NDA") are hereby
                incorporated by reference. Employee hereby acknowledges and agrees that this
                Agreement shaH not come into force, unless the NDA is executed. The provisions of the
                NDA shall survive the rescission or termination, for any reason, of this Agreement.
         8.     Representations
         8.1    Employee represents and warrants to the Company that the execution and delivery of this
                Agreement and the fulfillment of the tenns hereof (i) will not constitute a default under or
                conflict with any agreement or other instrument to which he is or was a party or by which
                he is bound, and (ii) does not require the consent of any person or entity.
         8.2    The Employee represents that the Employee has the requisite skills and knowledge to
                perfonn his/her duties, responsibilities and obligations under this Agreement.

         8.3    Employee represents and warrants that the Employee will use the Company's assets and
                equipment (including the Laptop, Cellular Phone, email account assigned to it by the
                Company, and/or documentation) (collectively "Company's Equipment") primarily for the
                purpose of his/her employment.

          8.4   The Employee acknowledges and agrees as follows: (i) upon reasonable suspicion of a
                breach of the provisions of this Agreement or applicable law, the Company shall have the
                right to conduct inspections on any and all the Company's computers, including inspections
                of electronic mail transmissions in the email account assigned to him/her by the Company,
                internet usage and inspections of their content, all subject to applicable law. For the
                avoidance of any doubt, it is hereby clarified that a1l findings of any such examinations




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                shall be the Company's sole property; and (ii) in any and all times the Employee will
                transfer to the Company the log-on passwords to the computer/Laptop provided by the
                Company and the Company assigned email account.
        9.      Notice; Addresses
         9 .1   The addresses of the parties for purposes of this Agreement shall be the addresses first
                written above, or any other address which shall be provided by due notice,
         9.2    AU notices in c01mection with this Agreement shall be sent by registered mail or delivered
                by hand to the addresses set forth above, and shall be deemed to have been delivered to the
                other party at the earlier of the following two dates: if sent by registered mail, as aforesaid,
                3 (three) business days from the date of mailing; if delivered by hand, upon actual delivery
                or proof of delivery at the address of the addressee (in the event of a refusal to accept it),
                Delivery by email or other electronic communication shall be sufficient and be deemed to
                have occmTed upon electronic confirmation of receipt

         l 0.   Miscellaneous
         10, 1 The preamble to this Agreement constitutes an integral part hereof.
         10.2 Headings are included for reference purposes only and are not to be used in interpreting
              this AgreemenL
         l 0.3 This Agreement is a personal employment agreement and therefore no collective
               bargaining agreements whatsoever shall apply wit11 respect to the relationship between the
               parties hereto.
         10 .4 No failure, delay of forbearance of either party in exercising any power or right hereunder
               shall in any way restrict or diminish such party's rights and powers under this Agreement,
               or operate as a waiver of any breach or nonperfonnance by either party of any terms or
               conditions hereof.
         10,5 Any determination of the invalidity or unenforceabiHty of any provision of the Agreement
               shall not affect the remaining provisions hereof unless the business purpose of this
               Agreement is substantially frustrated thereby.
         10.6 This Agreement is personal and non-a:;signable by Employee. It shall inure to the benefit
              of any corporation or other entity with which the Company shall merge or consolidate or
              to which the Company shall lease or sell all or substantially all of its assets, and may be
              assigned by the Company to any affiliate of the Company or to any corporation or entity
              with which such affiliate shall merge or consolidate or which shall lease or acquire all or
              substantially all of the assets of such affiliate. Any assignee must assume all the
              obligations of the Company hereunder, but such assignment and assumption shaH not
              serve as a release of the Company,
         10.7 This Agreement and any annexes thereto constitute an "employee notice 11 a:; required
              under the Employee's Notice (Terms of Employment) Law- 2002.
         10.8 This Agreement, including any annexes thereto, constitutes the entire understanding and
              agreement between the parties hereto, supersedes any and all prior discussions,
              agreements and coffespondence with regard to the subject matter hereof: and may not be
              amended, modified or supplemented in any respect, except by a subsequent writing
              executed by both parties hereto.
         10.9 It is hereby agreed between the parties that this A6,yeement shall be governed by and
               construed according to the laws of the State of Israel. Any dispute arising under or relating




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             to this Agreement or any transactions contemplated herein shall be resolved by the courts
             of Tel Aviv, and each of the parties hereby submits irrevocably to the exclusive
             jurisdiction of such venue,


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          IN WITNESS WHEREOF, the parties have executed this Personal Employment Agreement as of
          the date first above written.


          TAPD ISRAEL LTD.




          By: Adi Omesy                                          C;L,    rt'\:2. .lJ--l ,.._K- ,   ,
          Title: Site Manager                                    £lJ:P ~,;o0,·F"' t l~cr-tol:f tLY~




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                                                    ANNEX A


             1.   Employee Personal Details:            Full Name: Olivier Amar
                                                        Israeli I.D. Number:
                                                        Address:
                                                        Phone No.:
             2.   Position in the Company:              EVP Marketing & Acquisition
             3.   Supervisor/ direct manager:           CEO
             4.   Employment Starting Date:             March 8, 2017
             5.   Period of Prior Written Notice:       Both parties agree to give a 30-day prior written termination for
                                                        the first 12 months of employment. From 13 th month onwards
                                                        60 days notice will be required by both parties.

             6.   Monthly Salary:                                   to be paid no later than the 9th day of each month.
                                                        Salary includes travel and food expenses.

                                                        i.   Company shall contribute 13.33%, of which: 8.33% shall
             7.   Contributions to Managers Insurance
                                                             constitute payment towards severance pay component and
                  (percentages out of the Monthly
                                                             5% shall constitute payment towards providence
                  Salary):
                                                             component).
                                                        ii. 5% shall be contributed by the Employee and deducted
                                                            from Employee's Monthly Salary.
                                                        iii. In addition, the Company shall make provision for the loss
                                                             of earning capacity component at the lower of: 2.5% of the
                                                             Monthly Salary or such amount as shall be required to
                                                             ensure 75% of the Monthly Salary.




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                                                           Following the completion of three consecutive month period
           8.        Contributions to Education Fund       commencing on the Employment Starting Date and provided
                     (percentages out of the Monthly
                                                           that Employee is still employed by the Company, Company
                     Salary. For the purpose of this
                                                           shall contribute an amount equal to 7.5% of the Employee's
                     section 9- the Education Fund - the
                                                           Determining Salmy, and the Employee shall contribute an
                     Monthly Salary shall be calculated
                                                           amount equal to 2.5% of the Determining Salary. The        .
                     up to the applicable maximum          Employee instructs the Company to transfer to such Educat10n
                     amount as determined from time to     Fund the amount of Employee's contribution from each
                     time by and accordance with the       Determining Salmy.
                     Israeli.Income Tax Ordinance - the
                     "Determining Salary" ):               In the event of termination of Employee's employment under
                                                           this Agreement for any reason other than a termination for
                                                           Cause (as defined in the Agreement) Employee shall be
                                                           entitled to all sums accumulated in the Education Fund. In the
                                                           event oftermination for Cause (as defined in the Agreement).

                                                           Employee shall not be entitled to any of Company's
                                                           contributions to the Education Fund made during the
                                                           Agreement.
                                                           21 Days
                9.   Annual Vacation Days:

                                                           Cellular Phone- Compm1y shall pay the Cellular Phone
         10.         Cellular Phone Expenses:
                                                           Expenses directly to the cellular phone canier. Other terms are
                                                           as above.
         11.         Local Travel Expenses
                                                           555 nis a month




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                                         ANNEXB




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                                                      ANNEXB


            Re: PROPRDJ:TARY lNFORMATION, ASSIGNI\t!ENT OF INVEN"TIONS
            NON DISCLOSURE ANO NON COMPETE AGREEMENT (the "Agreement")
            The undersigned, employee of the Company (the "Employee") hereby acknowledges
            that in the course of his employment with the Company (the "Employment'1), he/she
            will have access to, and/or participate in the development or marketing of, the
            Company's products and/or ce1tain proprietary information, inventions, commercial
            secrets and other confidential information of the Company disclosed to the Employee,
            and/or accessed by, and/or developed by the Employee and/or with the assistance of
            the Employee. In relation to such confidential information, the Employee hereby
            undertakes as follows, in full knowledge that the force of this undertaking is in no
            way dependent upon the force of the Employee's employment agreement entered
            with the Company and is entirely independent from the obligations under in the
            Employee's employment agreement with the Company, dated as of 8 March, 2017
            (the ulf.mployment Agreement"):

            L      Proprietary Information and Non Disclosure
            1.1.         Employee acknowledges and agrees that he had, and will have access to or
            be involved in the making or development of, confidential and proprietary information
            concerning the business and financial activities of the Company or any of its affiliated
            entities and/or infonnation and technology regarding the Company's products,
            services, research and development, including without limitation, the Company's
            banking, investments, investors, properties, operational methods, plans and strategies,
            business plans, research projects, employees, marketing plans, supplier lists,
            customers, data, operating procedures, trade secrets, test results, fommlas, processes,
            data and know-how, improvements, inventions, patents, application for patents,
            copyrights, trademarks, engineering specifications, . product designs, technical
            information, discoveries, studies, techniques, specifications, computer programs (in
            source and object code), databases, products (actual or planned), any other
            commercial secret, as defined in the Commercial T01ts Law, 5759-1999, and any
            intellectual property. Such information, whether in documentary, written, oral, digital
            format or otherwise, shall be deemed to be and refened to as "Proprietary
            Information'\ The term "Company" shall include for purposes of this Section l any
            subsidiaries and/or affiliates thereof.
            1.2.         Proprietary Information shall be deemed to include any and all proprietary
            info1111ation disclosed by or on behalf of the Company irrespective of form, but
            excluding information that (i) was lmown to Employee prior to his association with
            the Company and can be so proven by Employee by documentary evidence; (ii) is or
            has become a part of the public knowledge, except as a result of a breach of this
            Agreement by Employee; (iii) was received by Employee from a third party, having
            no obligation to the Company.
            1.3.       Employee agrees and declares that all Proprietary Information and rights
            in connection therewith are, and shall be the sole property of the Company and its
            assignees and no license or other rights to Proprietary Information is granted or
            implied hereby to have been granted to Employee, in the past, now or in the foture.

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            1.4.        At all times, both during his engagement by the Company and after its
            termination, Employee wiH continue to keep in strict confidence and trust all
            Proprietary Infommtion, and Employee will not copy, transmit, reproduce,
            summarize, quote, publish, reverse engineer, make any commercial or other use,
            disclose and/or make available, directly or indirectly any Proprietary Information or
            anything relating to it without the prior written consent of the Company, except as
            rnay be necessary in the ordinary course of performing Employee's duties under his
            employment with the Company in the best interests of the Company.
            1.5.        Upon termination of his Employment with the Company, or upon the
            Company's first request, Employee will promptly deliver to the Company all
            Proprietary Information and all documents and materials of any nature (whether in
            printed, digital or other fonn) prepared by Employee or which came to Employee's
            possession howsoever, at any time during the Employment with the Company.
            Employee will not take with him or retain any documents or materials or copies
            thereof containing any Proprietary Information in whatever form.
            1.6.        Employee recognizes • that the Company received and will receive
            confidential or proprietary information from third parties subject to a duty on the
            Company's part to maintain the confidentiality of such information and to use it only
            for certain limited purposes. At all times, both during his Employment and after its
            termination, Employee undertakes to keep and hold all such information in strictest
            confidence and trust, and not to use or disclose any of such information without the
            prior written consent of the Company, except as may be necessary to perfonn his
            duties as an employee of the Company and consistent with the Company's agreement
            with such third party. Upon termination of his Employment with the Company,
            Employee sha11. act with respect to such information as set forth in Section 1.4, mutatis
            mutandis.
             1.7.        Without derogating from the generality of the foregoing, Employee agrees
             as follows: (i) Employee undertakes not to place itself in a situation of any potential or
             actual conflict of interests between itself and the Company and to notify the Company
             immediately of any matter ,vhich may lead to the creation of a conflict of interests
             between the Employee and the Company; (ii) Employee shall exercise the highest
             degree of care in safeguarding the Proprietary Information against loss, theft or other
             inadvertent disclosure and has, and will take all reasonable steps necessary to ensure
             the maintaining of confidentiality; and (iii) Employee shall not enter into the
             databases of Company for any purpose whatsoever, including, without limitation,
             review, download, insert, change, delete and/or relocate any information, except as
            ·maybe necessary in the performance of his/her duties pertaining to the Company.
            1.8.        The provisions of this Section 1 shall survive the termination of the
            Employee's Employment with the Company regardless of the cause of such
            termination.

            2.      Assignment of Inventions
            2.1.        Employee understands that the Company is engaged, involved or
            associated in a continuous program of research, development, production or marketing
            in connection with its business and that, as an essential part of his employment with
            the Company, he/she may and is expected to make new contributions to and create
            inventions of value for the Company.




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            2.2.         During the term of this Agreement, Employee undertakes and covenants
            that he will promptly disclose in confidence to the Company an inventions, patents,
            patent applications, patent rights, improvements, innovations, designs, copyrights,
            original works of authorship, formulas, concepts, tedmiques, forecasts, test results
            and documentation, discoveries, business methods and any other methods,
            confidential infon11ation, data, models, drawings, tooling, schematics and other
            diagrams, instructional material, notes, records, algorithms, integrated circuits, know-
            how, operating procedures, methods, systems, processes, compositions of matter,
            c-omputer software programs, binary code, object code, source code, databases, mask
            works, brands, trademarks, logos, goodwiH and trade secrets, whether or not
            patentable, copyrightable, registerable or othenvise protectable as trade secrets or
            under any other intellectual property right, that are made or conceived or first reduced
            to practice or created by Employee, either alone or jointly with others, in the course of
            his Employment with the Company, (including, without limitation, "Service
            Inventions 11 as defined under Section 132 of the Israeli Patent Law 5727-1967 (the
            "Patent Law")) and any rights analogous to the foregoing anywhere in the world,
            which relates to any of the Company's and/or its subsidiaries and/or affiliates
            business, products, scope of work, or actual or demonstrably anticipated research and
            development or which are developed in whole or in part on the Company's time
            ("Inventions").
            23.         Employee agrees and represents, that all Inventions will be the sole and
            exclusive property of the Company. Employee hereby covenants and agrees that so
            long as he/she will be employed with the Company, he/she shaH not cooperate with
            any third party in purpose of creating any Invention/s, unless a prior written consent is
            obtained from the Company.
            2.4.       Employee agrees to keep and maintain adequate and current written
            records of all Inventions made by him (solely or jointly with others) during his
            Employment The records will be in the form of notes, sketches, drawings, and any
            other fonnat that may be specified by the Company. The records will be available to
            and remain the sole property of the Company at all times and will be returned to the
            Company upon the earlier of completion of the services or the request of the
            Company.
            2.5.        Employee agrees that if in the course of performing services, he will wish
            to incorporate any intellectual property right, including without limitation, invention
            (whether or not patentable), work of authorship, mask work, design, trade secret,
            improvement, development, concept, discovery or other proprietary information that
            does not belong to the Company, but rather owned by him or in which he has an
            interest ("Employee's IP 11 ) into any Invention developed hereunder ("Incorporated
            IP") 0) Employee shall inform the Company, in writing, before incorporating such
            Employee's IP into any Invention; and, whether or not he complies with the foregoing,
            (ii) the Company is hereby granted and shall have a nonexclusive, royaJty~free,
            perpetual, irrevocable, worldwide license (including the right to sublicense) use,
            reproduce, publish, make available to the public, distribute, perforn1, display, prepare
            derivative works of, make, have made, modify, exploit, sell, export or make any
            commercial use of such Employee's IP .
            2.6.       Employee shall not incorporate any invention, work of authorship, mask
            work, protectable design, improvement, development, concept, discovery, trade secret




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            or other proprietary infonnation owned in whole or in part by any third party into any
            Invention without prior written pennission of the Company.
            2.7.         Without thereby derogating from any right of the Company pursuant to
            any applicable law, and to the extent that Employee may have rights in any Inventions
            which do not vest upon creation in the Company, Employee hereby irrevocably
            transfers and assigns to the Company and/or its assignees, successors and legal
            representatives, and shall transfor and assign, as and when any such Invention is first
            created or conceived ancl when first reduced to practice or first fixed in a tangible
            medium, as applicable, without additional consideration other than his salary and
            other benefits to which he is entitled to as an employee of the Company (including
            without limitation, without any compensation or roya[ties in accordance with Section
            134 of the Patent Law), any and aU worldwide patents, patent applications, copyrights,
            mask works, trade secrets and other any rights, inteHectual property rights, titles and
            interests, in any Invention, including all powers, privileges and immunities arising
            thereunder or conferred thereby, and alI applications for inteUectual or industrial
            property that have been or may hereinafter be filed for the Inventions in any
            jurisdiction, ru1d an divisions, renewals and continuations thereof, and all registrations
            that may be granted thereon and aH extensions and reissues thereof, together with any
            and all rights of priority relating to the Inventions and any registrations that may be
            granted thereon, expressly including the right to sue for past infringement, ru1d hereby
            further acknowledges and shall in the future acknowledge Company's full ru1d
            exclusive ownership in all such Inventions.
            2.8.         Employee also hereby forever waives and agrees never to assert any and
            all Moral Rights he/she may have in or with respect to any Invention, even after
            termination of his Employment with the Company. "Moral Rights" mean any rights of
            paternity or integrity, any right to claim authorship of an invention, to object to any
            dist01tion, mutilation or other modification ot: or other derogatory action in relation
            to, any Invention, whether or not such would be prejudicial to his/her honor or
            reputation, and any similar right, existing under judicial or statutory law of any
            jurisdiction whatsoever, or under any treaty, regardless of whether or not such right is
            denominated or generally refen-ed to as a "moral right". Employee further agree that,
            with respect to aH Inventions and Proprietary lnfonnation and other matters
            concerning his Employment with the Company that may result in publishable
            material, all such publication rights shall belong exclusively to the Company.
            2.9.         Employee expressly, unconditionally and irrevocably waives: (i) any right
            ancl/or claim for ownership in relation to any Invention; (ii) alJ economic rights in the
            Inventions, including without limitation, in the framework of Section 132(b) of the
            Patent Law and any rights to royalties from any intellectual property rights
            (specifically including patent rights under the Patent Law), and any right to receive
            any payment or other consideration whatsoever with respect to the Inventions (other
            than any salary, consideration and other benefits provided to him under his
            Employment with the Company) pursuant to any applicable law, in any jurisdiction,
            including (but not limited to) pm:suant to Section 134 of the Patent Law, or any
            provision that may supersede it
            2.10.         Employee agrees to assist the Company in every proper way to obtain and
            enforce, for the benefit of the Company and/or its assignees exclusive and absolute
            title, right, interest, patents, copyrights, mask work rights, and other legal protections
            for the Inventions in any and all countries. Employee will execute any documents that




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            the Company may reasonably request for use in obtaining or enforcing such patents,
            copyrights, mask work rights, trade secrets and other legal protections. Employee's
            obligations under this Section 2.92.10 will survive the ten11 ination of his Employment
            with the Company, provided that the Company will compensate him at a reasonable
            rate after such termination for time or expenses actuaHy spent by him at the
            Company's request on such assistance. After the termination of the Employee's
            Employment with the Company, any assistance requested by the Company pursuant to
            this Section 2.10 shall take into account the Employee's obligations towards third
            pmties.
            2.11.       Employee hereby irrevocably appoints the Company and/or its duly
            authorized officers and agents (including, without limitation, the chainnan of the
            Company's board of directors) as his/her attorney-in~fact to execute documents on
            his/her behalf for this purpose and agrees that, if the Company is unable because of
            Employee's unavailability, dissolution, mental or physical incapacity, or for any other
            reason, to secure Employee's signature for the purpose of applying for or pursuing
            any application for any United States or foreign patents or mask work or copyright
            registrations covering the Inventions assigned to the Company in this Section 2, to act
            for and on Employee's behalf to execute and file any such applications and to do all
            other lawfully permitted acts to further the prosecution and issuance of patents,
            copyright and mask work registrations with the same legal force and effect as if
            executed by t.he Employee.
            2.12.        FulJ Consideration. Employee hereby acknowledges and agrees that any
            salary, consideration and other benefits provided to him during his Employment,
            constitute appropriate, full and fair consideration in connection with his engagement
            with the Company, including, without limitation, with respect to this Agreement and
            including with respect to his undertakings under this Section 2 and with respect to any
            Inventions, all of which are assigned to the Company and/or its subsidiaries and/or
            affiliates, as applicable, in accordance with this Agreement. In the event that for any
            reason the rights detailed in this Section 2 cannot be waived, Employee hereby assigns
            and transfers to the Company any such right he may have to receive any additional
            payment or other consideration whatsoever with respect to any Invention pursuant to
            any applicable law, including the Patent Law, in any jurisdiction.
            2.13.       The provisions of this Section 2 shall survive the tern1ination of the
            Employee's Employment with the Company regardless of the cause of such
            tennination.

            3.     Non-Competition; non solicitation
            3. 1.       Employee agrees and undertakes that he/she will not, without the prior
            written consent of Company, so long as he/she is employed by the Company and for a
            period of 12 months following termination of his/her employment for whatever
            reason, directly or indirectly, as owner, partner, joint venture, stockholder, employee,
            broker, agent, principal, corporate officer, director, licensor or in any other capacity
            whatever (a) without derogating from the above stated in sections 1 and 2, engage in,
            become financially interested in, be employed by, any business or venture that is
            engaged in any activities involving either (i) products similar to or competing with
            actual or planned products of the Company or its affiliates, or (ii) information,
            processes, technology or equipment that is similar to infonnation, processes,
            technology or equipment in which the Company or its affiliates then have a




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            proprietary interest, in any geographic area where, during the time of employment,
            such business of the Company or any of its affiliates is being or had been conducted,
            provided, however, that Employee may own securities of any corporation which is
            engaged in such business and is publicly owned and traded but in an amount not to
            exceed at any one time one percent (1 %) of any dass of stock or securities of such
            company, so long as he/she has no active role in the publicly owned and traded
            company as director, employee, consultant or otherwise; or (b) assist any other
            person, entity, or organization in competing or in preparing to compete with the
            business or demonstrably anticipated business of the Company; or (c) entice, solicit or
            encourage any employee, consultant, customer, vendor, supplier or prospective
            employee, consultant, customer, vendor or supplier of Company to cease doing
            business with the Company, reduce its relationship with the Company or refrain from
            establishing or expanding a relationship with the Company or in any other way
            interfere with the Company's relationships with its employees, consultants, customers,
            vendors or suppliers. Exceptions to the restriction set forth in Section 3.1 (a) will be
            permitted with written consent of the board of directors of the Company.
            3.2.        Employee agrees and undertakes that during the period of his employment
            with the Company and for a period of 12 months following its tem1inatio11 for any
            reason, he/she will not, directly or indirectly, including personally or in any business
            in \Vhich he/she is an officer, director or shareholder, for any purpose or in any place,
            hire or engage with any person employed by the Company on the date of such
            termination or during the preceding twelve months (except where such person is
            employed at the time of such termination and thereafter by a third party).
            3.3.        Employee acknowledges that the Company has entered into his/her
            employment agreement in reliance on his/her undertaking set forth in this Section 3,
            and that given histher access to information regarding the Company, the provisions of
            this Section 3 are reasonable and necessary to protect the Company's business and
            rights.
            3.4.         If any one or more of the terms contained in this Section 3 shall for any·
            reason be held to be excessively broad with regard to time, geographic scope or
            activity, the term shall be construed in a manner to enable it to be enforced to the
            extent compatible with applicable law.

            4.     MlSCELLANEOUS

            4. L Governing Law. This Agreement shall be governed by and construed according
            to the laws of the State of Israel. Any dispute arising under or relating to this
            Agreement or any transactions contemplated herein shall be resolved by the
            competent courts of Tel Aviv, and each of the parties hereby irrevocably agree to the
            jurisdiction of such venue.
            4.2. Severability. If one or more provisions of this Agreement are held to be illegal or
            unenforceable under applicable Israeli law, such illegal or unenforceable provision(s)
            shall be limited or excluded from this agreement to the minimum extent required so
            that this Agreement shall otherwise remain in foll force and effect and enforceable in
            accordance with its terms.
            4.3. Transferability. This Agreement is fully assignable and transforable by the
            Company, but any purported assignment or transfor by the Employee is void.




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            4.4. Injunctive Relief Any breach of this Agreement wiH cause irreparable harm to
            the Company, for which damages would not be an adequate remedy, and therefore,
            the Company will be entitled as a matter of right to an injunctive relief, out of any
            court of competent jurisdiction, restraining any violation or further violation of this
            Agreement by me or others acting on my behalf The Company's right to injunctive
            relief shall be cumulative and in addition to any other remedies provided by law or
            equity and without any requirement to post bond.
            4.5    .{::_bange of Title/Responsibilities. Any change in Employee's title and/or
            responsibilities and/or terms of employment by the Company, shall not effect this
            Agreement and the provisions herein shaH remain in full force, regardless of the
            execution of a new agreement between Employee and the Company pursuant to such
            change(s),


            IN WITNESS \\!HEREOF, the Employee has signed this Proprietary Information,
            Assignment ofinventions, Non Disclosure and Non Compete Agreement as of the 8
            day of rch 2017.




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          TAPD Israel-Ltd.

            By:Adi Omesy

            Title: Site Manager




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                                    ANN.EXC
        GENERAL APPROVAL REGARDING PAYMENTS BY EMPLOYERS TO A PENSION
           FUND AND INSURANCE FUND IN LIEU OF SEVERANCE PAYUNDER THE
                          SEVERANCE PAY LAW, 5723-1963

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                                                ANNEXD

            Proprietary Information, Assignment of Inventions, Non-Disclosure and Non-Compete
                                               Agreement




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